Case 1:22-ap-01028-MB        Doc 26 Filed 12/06/22 Entered 12/06/22 07:48:40           Desc
                              Main Document    Page 1 of 1



  1   Sevan Gorginian, Esq. (SBN 298986)
      Law Office of Sevan Gorginian
  2   450 North Brand Boulevard, Suite 600                   FILED & ENTERED
  3   Glendale, California 91203
      Tel: 818.928.4445 | Fax: 818.928.4450
      Email: sevan@gorginianlaw.com                                DEC 06 2022
  4
  5   Former Attorney for Defendant                           CLERK U.S. BANKRUPTCY COURT
                                                              Central District of California
                                                              BY Cetulio DEPUTY CLERK
  6                           UNITED STATES BANKRUPTCY COURT
  7                             CENTRAL DISTRICT OF CALIFORNIA
  8                             SAN FERNANDO VALLEY DIVISION
  9
 10   In re:                            )         Case No.: 1:22-bk-10283-MB
                                        )         Chapter 7
 11    LUSINE CRISTINE DOKUZYAN,        )         Adv. No.: 1:22-ap-01028-MB
                               Debtor.  )
 12   _________________________________ )         ORDER GRANTING MOTION OF
                                                  ATTORNEY SEVAN GORGINIAN TO
 13                                     )         WITHDRAW AS COUNSEL OF
      HOVANES JOHN TONOYAN,             )         RECORD FOR DEFENDANT
 14                                     )
                    Plaintiff,
      vs.                               )         [No hearing required]
 15
      LUSINE CRISTINE DOKUZYAN,         )
 16                                     )
                    Defendant.          )
 17
         The Court has reviewed the Motion of Attorney Sevan Gorginian to Withdraw as
 18
      Counsel of Record for Defendant (“Motion To Withdraw”) [Dkt. 18]. With notice being
 19
      sufficient, good cause shown and no opposition been filed, it is HEREBY ORDERED
 20
      that the Motion To Withdraw is granted and Attorney Sevan Gorginian is withdrawn as
 21
      counsel of record for Defendant.
 22                                            ###
 23
 24 Date: December 6, 2022
 25
 26
 27
 28


                                                -1-
